                      Case 4:18-cr-00014-BMM Document 11 Filed 03/06/18 Page 1 of 3
AO 199A (Rev. 12111) Order Setting Conditions of Release                                           Page 1 of    3     Pages



                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                                                                      FILED
                                                           District of Montana                          MAR - 6 2018
                                                                                                    Clerk, U.S District Court
                                                                                                      Dlstnct Of Montana
                    United States of America                        )                                      Great r-a!fs
                                   v.                               )
                 STANLEY PATRICK WEBER                              )        Case No. CR 18-14-GF-BMM
                                                                    )
                                                                    )
                              Defendant

                                        ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1)   The defendant must not violate federal, state, or local law while on release.

(2)   The defendant must cooperate in the collection ofa DNA sample ifit is authorized by 42 U.S.C. § 14135a.

(3)   The defendant must advise the court or the pretrial services office or supervising officer in writing before making
      any change of residence or telephone number.

(4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
      the court may impose.

      The defendant must appear at:
                                                                                   Place




      on
                                                                   Date and Time


      Ifblank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance Bond, if ordered.
                                Case 4:18-cr-00014-BMM Document 11 Filed 03/06/18 Page 2 of 3
AO 199B (Rev. 12f11) Additional Conditions of Release                                                                                           Page   ~   of   ~   Pages
                                                       ADDITIONAL CONDITIONS OF RELEASE
         IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

     )     (6)The defendant is placed in the custody of:
              Person or organization
              Address (only if above is an organization)
              City and state                                                                                      Tel. No. ----:-c:-:-~_=__::---~-~::--_=__
who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the custodian's custody.

                                                                               Signed: -----c;:;S;;;;;U;;;;----­

( X)       (7) The defendant must:
         ( X) (a) submit to supervision by and report for supervision to the Aaron Peacock, District of SO
                    telephone number       (605) 399-5953 , no later than -"0""3"-'/O""6!LJ/2""0"-1'-.>S'---_ _ _ _ _ __
              ) (b) continue or actively seek employment.
              ) (c) continue or start an education program.
            X ) (d) surrender any passport to:       Uni.::::tecc:d~S=ta::.:te.=.s=-=-P_'_r.=.et.:.:.r.:.=ia:.:..I_=S:...::e:.:..rv.:..:ic:::c.:.:.e.=.s.=______________________
         (    ) (e) not obtain a passport or other international travel document.
         ( X) (1) abide by the following restrictions on personal association, residence, or travel: _fIIo contact, direct or indirect, with any minoa
                         under the age of 1S.
                 ) (g) shall not harass, threaten, intimidate, tamper with, improperly influence or injure witnesses, jurors, informants, victims of offense charged


                 ) (h) get medical or psychiatric treatment:

                 ) (i) return to custody each _ _ _ _ _ at _ _ _ o'clock after being released at _ _ _ _ _ o'clock for employment, schooling,
                       or the following purposes:

                 ) 0)    maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                         necessary.
         ( X ) (k)       not possess a firearm, destructive device, or other weapon.
         (   ) (I)       not use alcohol (        ) at all (     ) excessively.
         (   ) (m)       not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                         medical practitioner.
                 ) (n)   submit to testing for a prohibited substance ifrequired by the pretrial services office or supervising officer. Testing may be used with random
                         frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
                         substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy ofprohibited
                         substance screening or testing.
                 ) (0)   participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                         supervising officer.
         ( X ) (p)       participate in one of the following location restriction programs and comply with its requirements as directed.
                         ( X ) (i) Curfew. You are restricted to your residence every day ( X ) from               10:00 pm        to 6:00 am ,or (            ) as
                                      directed by the pretrial services office or supervising officer; or
                              ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical,
                                      substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities
                                      approved in advance by the pretrial services office or supervising officer; or
                              ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                      court appearances or other activities specifically approved by the court.
         ( X ) (q)       submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all ofthe program
                         requirements and instructions provided.
                         ( X ) You must pay all or part ofthe cost ofthe program based on your ability to pay as determined by the pretrial services office or
                                supervising officer.
         ( X) (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                          I.IU~;lSllUlllllg, or traffic stops.
         ( X ) (s)            in               contact with Defense Counsel.
         (x )            _(t) Comply with instructions and reporting instructions of the pretrial officer.
                      Case 4:18-cr-00014-BMM Document 11 Filed 03/06/18 Page 3 of 3
AO 199C (Rev. 09/08) Advice ofPenaities                                                                       Page           of   3     Pages

                                          ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

       Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.
       While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.
       It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are
significantly more serious if they involve a killing or attempted killing.
       If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
             not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years you will be fined not
             more than $250,000 or imprisoned for not more than five years, or both;
       (3) any other felony - you will be fmed not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor - you will be fmed not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                  Acknowledgment of the Defendant

      I acknowledge that I am the defendant in this case and that I am aware ofthe conditions ofrelease. I promise to obey all conditions
ofrelease, to appear as directed, and surrender to serve any sentence' osed. I am aware ofthe penalties and sanctions set forth above.




                                               Directions to the United States Marshal

(1<) The defendant is ORDERED released after processing.
(  ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant
     has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be produced before
     the appropriate judge at the time and place specified.



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